Case 2:04-cv-02659-.]DB-dkv Document 24 Filed 05/25/05 Page 1 of 2 Page|D 34

 

UNITEI) sTATEs I)ISTRICT coURT 4
WESTERN DISTRICT 0F TENNESSEE w v N_ m ' q M
WESTERN DIvIsIoN 3 n v ,;3 F. w 4 d
NATIONAL HERITAGE REALTY, 1Nc,
Piainnff,
clviL ACTION cASE
v` N0. 04-2659

MID-SOUTH ASSOCIATES, LLC,

)
)
)
)
)
)
)
)
Defendant. )
)

 

ORDER APPROVING MOTION FOR ADMISSIONS PRO HAC VICE
ON BEHALF OF FLAINTIFF NATI()NAL HERITAGE REALTY, INC.

Upon Mction cf David E. Goodman, Jr., attorney for Plaintiff National Hen'tage Realty,
Inc. (“NHR”) for admission pro hac vice cf Thomas E. Reilly, Steven J. Hewitson and Merle R.
Arncld, licensed Georgia attorneys1 to appear On behalf of NHR in this Court;

IT IS, THEREFORE, ORDERED, ADJUDGED, and DECREED that Thomas E. Reilly,

Steven J. Hewitson and Merle R. Arnold are hereby admitted pro hac vice to practice and appear

dear
CTEYU

mm D\\: 2@-0-5/

DATE l

in this Court as counsel for NI-[R in this cause.

This document entered on the docket sheet in compliance
winn sue 58 and/orfe(a} FncP on “ ' O

 

ESTERN D

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02659 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

ESSEE

 

Mary L. Wolff
WOLFF ARDIS

5810 Shelby Oaks Dr.
1\/1emphis7 TN 38134

Ryan T. Pumpian

POWELL GOLDSTEIN FRAZER & MURPHY LLP
191 Peachtree Street, N.E.

16th Fl.

Atlanta, GA 30303

W. Les Jones

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

David E. Goodman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Christopher P. Galanek

POWELL GOLDSTEIN FRAZER & MURPHY
191 Peachtree Street, N.E.

16th Fl.

Atlanta, GA 30303

Honorable .l. Breen
US DISTRICT COURT

